                        Case 2:18-cr-00173-JAW Document 13 Filed 05/17/19 Page 1 of 1   PageID #: 34
                                                UNITED STATES DISTRICT COURT
                                                      DISTRICT OF MAINE
      CASE NAME: USA v. Demone Coleman

      DOCKET NO: 2:18-cr-12-JAW and 2:18-cr-173-JAW

      PROCEEDING TYPE: Sentencing

                                                                Exhibit List
Gvt   Dft    Court
                                                                                          Date          Date            Date
Exh   Exh    Exh                                        Description                                              Obj
                                                                                        Mentioned      Offered         Admitted
No.   No.     No.
       1                                              Character Letter                    5/17/19      5/17/19         5/17/19
